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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,
                                                       CRIMINAL NO. 11-449 (DRD)
               v.

 RAFAEL ALMEIDA-MARTINEZ [1],

 Defendant.


                        REPORT AND RECOMMENDATION

       Defendant Rafael Almedia-Martínez charged in Counts One through Three of an

Indictment and he agreed to plead guilty to Count One of the Indictment. Count One

charges that, on or about October 17, 2011, on the high seas, in the District of Puerto Rico,

elsewhere, and within the jurisdiction of this Court, the defendant herein, did knowingly

and intentionally combine, conspire, confederate and agree together with each other, and

with other persons known and unknown, to commit an offense defined in Title 46, United

States Code, Section 70503, that is: to possess with intent to distribute five (5) kilograms

or more of a mixture or substance containing a detectable amount of cocaine, a Schedule

II, Narcotic Drug Controlled Substance, on board a vessel subject to the jurisdiction of the

United States, that is, a vessel in the customs waters of the United States. The District of

Puerto Rico was the first point of entry where the defendants entered the United States

following the commission of the aforesaid offense. All in violation of Title 46, United States

Code, Sections 70502(c)(1)(D), 70503(a)(1), 70504(b)(1) & 70506(a) and (b).

       On July 16, 2011, defendant appeared before this Magistrate Judge, since the Rule11

hearing was referred by the Court. Defendant was provided with a Waiver of Right to Trial

by Jury, which he signed and agreed upon voluntarily after examination in open court,

under oath.
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         Defendant indicated and confirmed his intention to plead guilty to Count One of the

Indictment, upon being advised of his right to have said proceedings before a district judge

of this court.1 Upon verifying through defendant’s statement his age, education and any

relevant aspect as to the use of medication, drugs, alcohol or substance dependency, and

psychological or psychiatric condition, to ascertain his capacity and ability to understand,

answer and comprehend the interactive colloquy with this Magistrate Judge, a

determination was made as to defendant’s competency and ability to understand the

proceedings.

         Having further advised defendant of the charges contained in above-stated Count

One, he was examined and verified as being correct that: he had consulted with his counsel,

AFPD Yazmín A. Irizarry, prior to the hearing for change of plea, that he was satisfied with

the services provided by his legal representative and had time to discuss with her all aspects

of the case, insofar, among other things, regarding the change of plea, the consent to

proceed before a United States Magistrate Judge, the content of the Indictment and the

charges therein, his constitutional rights and the consequences of the waiver of same.

         Defendant was specifically apprised by this Magistrate Judge that, upon withdrawing

his initial plea of not guilty and now entering a plea of guilty to the charge specified, he was

waiving his right to a public, speedy, and a trial by jury constituted by twelve jurors who

have to unanimously agree to a verdict. He was also waiving his right to be presumed

innocent and for the government to meet the obligation of establishing his guilt beyond a

reasonable doubt. Furthermore, he was waiving his right during said trial to confront the

witnesses who were to testify against him and be able to cross-examine them, through

         1
           The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
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counsel at said trial, as well as present evidence on his behalf. He was also waiving the right

to compel the attendance of witnesses and that subpoenas be issued to have them appear

in court to testify. Defendant was specifically apprised of his right to take the stand and

testify, if he so decided, or not to testify, and no inference or decision as to his guilt could

be made from the fact if he decides not to testify. Defendant was also explained his right

not to incriminate himself; that upon such a waiver of all above-discussed rights a judgment

of guilty and his sentence were to be based on his plea of guilty, and he would be sentenced

by the judge after considering the information contained in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive

acknowledgment of each and every waiver and, with the assistance of his counsel, AFPD

Irizarry, indicated he freely and voluntarily waived those rights and understood the

consequences. During all this colloquy, defendant was made aware that he could freely

request from this Magistrate Judge any additional clarification, repetition, or ask questions

and that he may consult with his attorney at any given time as to any issue.

        Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The defendant hereby expressly accepts

responsibility for conspiring to distribute 15 but less than 50 kilograms of cocaine. The

penalty for the offense charged in Count One is term of imprisonment of at least ten (10)

years and not more than life, a fine not to exceed ten million dollars ($10,000,000.00), and

a term of supervised release of at least five (5) years.

        The Court must also impose a mandatory penalty assessment of one hundred dollars

($100.00), per count, to be deposited in the Crime Victim Fund.
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        Having ascertained directly from defendant that he had not been induced in any way

to plead guilty, that no one had forced him in any way to plead guilty, nor that he had been

offered any reward or any other thing of value to get him to plead guilty, the document

entitled “Plea Agreement (Pursuant to Rule 11(c)(1)(A) & (B) of the Federal Rules of

Criminal Procedure)” (“the Agreement”) and the “Plea Agreement Supplement”2 were

shown to defendant, verifying his signature and initials on each and every page.

        Pursuant to said Agreement, and insofar as Count One, as to which defendant

already was aware of the maximum possible penalties, defendant was apprised that it was

up to the sole discretion of the sentencing court what the sentence to be imposed on him

will be. Defendant was specifically informed that if the sentencing court were to impose a

sentence which turned out to be higher or more severe than the one he might be expecting,

for said reason alone, defendant would have no grounds for the court to allow him to

withdraw his plea of guilty.

        The above-captioned parties’ estimate and agreement that appears on page three,

paragraph seven of the Agreement, regarding the possible applicable advisory Sentencing

Guidelines, were further elaborated and explained. As to Count One, the Base Offense Level

is of Thirty-Four (34) (at least 15 kilograms but less than 50 kilograms of cocaine). A three

(3) level decrease is agreed for capped offense, pursuant to USSG §2D1.1. A two (2) level

decrease is agreed for minor participant. A three (3) level decrease is agreed for acceptance

of responsibility. A two (2) level decrease is agreed upon compliance with USSG §5C1.2.

Therefore, the Total Offense Level is of Twenty-Four (24), yielding an imprisonment range



        2
            Defendant acknowledged discussing the “Plea Agreement Supplement” with his counsel and stated he
understood the terms and consequences of the same. Defense counsel recognized she explained to defendant the content
of the “Plea Agreement Supplement” and explained to defendant its consequences.
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of fifty-one (51) to sixty-three (63) months if the Criminal History Category is I; fifty-seven

(57) to seventy-one (71) months if the Criminal History Category is II; sixty-three (63) to

seventy-eight (78) months if the Criminal History Category is III; seventy-seven (77) to

ninety-six (96) months if the Criminal History Category is IV; ninety-two (92) to one

hundred and fifteen (115) months if the Criminal History Category is V; and one hundred

(100) to one hundred and twenty-five (125) months if the Criminal History Category is VI.

        The United States and the defendant, after considering the advisory Sentencing

Guidelines and all applicable sentencing factors in Title 18, United States Code, Section

3553, agree to recommend that defendant be sentenced to serve a term of imprisonment

at the lower end of the applicable guidelines, or 51 months; defendant has further reserved

the right and the government will not objet to request the Court depart downward an

additional 2 points based on the defendant’s physical condition; and if the Court accepts

this downward departure, the defense reserves the right to request a term of imprisonment

of 41 months.

        The United States and the defendant agree that no further adjustments or departures

to the defendant’s total offense level shall be sought by the parties. Moreover, the

defendant agrees that he will not seek under any of the factors contained in Title 18, United

States Code, Section 3553, a sentence more lenient than the one detailed in the previous

paragraph, as the same is a reasonable sentence.

        At sentencing, the United States will request the Court the dismissal of any and all

remaining counts in the indictment against the defendant, pursuant to Rule 11(c)(1)(A) of

the Federal Rules of Criminal Procedure.
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        There parties do not stipulate any assessment as to the defendant’s Criminal History

Category.

        As part of the written Agreement, the government, the defendant, and his counsel

also agreed they are aware that the Sentencing Guidelines are no longer mandatory and are

thus considered advisory.

        The government presented to this Magistrate Judge and to defendant, assisted by

his counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the

commission of the offense, beyond a reasonable doubt.                  Counsel and defendant

acknowledged the evidence of the government was fully disclosed to them and previously

discussed between the two. Defendant was also read and shown a document entitled

“Statement of Facts”, which had been signed by defendant and his counsel and is attached

to the Agreement, wherein the signature of counsel for the government also appears.

Defendant was able to understand the explanation and agreed with the government’s

submission.

        Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

        Defendant was informed that he can appeal his conviction if he believes that his

guilty plea was somehow unlawful or involuntary or if there is some other fundamental

defect in the proceedings which was not waived by his guilty plea. Defendant was also

informed that he has a statutory right to appeal his sentence under certain circumstances

particularly if the sentence is contrary to law. With few exceptions, any notice of appeal
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must be filed within fourteen (14) days of judgment being entered in the case. Defendant

was also apprised the right to appeal is subject to certain limitations allowed by law because

his Plea Agreement contains a waiver of appeal in paragraph twenty (20) which was read

to defendant in open court. Defendant recognized having knowledge of the waiver of appeal,

discussing the same with his counsel and understanding its consequences. Defense counsel

acknowledged discussing the waiver of appeal and its consequences with his client.

        Defendant waived the reading of the Indictment in open court because he is aware

of its content, indicating he availed himself of the opportunity to further discuss same with

his attorney and then he positively stated that what was contained in Count One, and was

what he had done and to which he was pleading guilty during these proceedings.

Thereafter, defendant expressed in no uncertain terms that he agreed with the

government’s evidence as to his participation in the offense. Thereupon, defendant

indicated he was pleading guilty to Count One of the Indictment in Criminal No. 11–449

(DRD).

        This Magistrate Judge after having explained to the defendant his rights,

ascertaining that he was acting freely and voluntarily to the waiver of such rights and in his

decision of pleading guilty, with full knowledge of the consequences thereof, and there

being a basis in fact for such a plea, is recommending that a plea of guilty be entered as to

Count One of the Indictment in Criminal No. 11-449 (DRD).
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        IT IS SO RECOMMENDED.

        The sentencing hearing will be set promptly, before Honorable Daniel R. Domínguez,

District Court Judge.

        San Juan, Puerto Rico, this 18th day of July of 2012.



                                                     s/ CAMILLE L. VELEZ-RIVE
                                                     CAMILLE L. VELEZ-RIVE
                                                     UNITED STATES MAGISTRATE JUDGE
